          Case 1:19-cr-00018-ABJ Document 90 Filed 04/30/19 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 19-CR-18 (ABJ)
                                             :
               v.                            :
                                             :
ROGER STONE, JR.,                            :
               Defendant.                    :
                                             :


                        NOTICE OF APPEARANCE OF COUNSEL

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby informs the Court that Assistant United States Attorney Adam Jed is

entering his appearance in the above-captioned matter as counsel for the United States.




                                             Respectfully submitted,


                                             JESSIE K. LIU
                                             United States Attorney



                                     By:     /s/ Adam Jed
                                             ADAM JED
                                             Assistant U.S. Attorney
                                             N.Y. Bar No. 4978532
                                             555 4th Street, N.W.
                                             Washington, D.C. 20530
                                             (202) 252-1793
                                             Adam.Jed@usdoj.gov
